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Management Cay Inc., HF Cosmopolitan Beta L.P.,
Xueyuan Han, Junjun Feng, Wennan Ao and George Xu

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 JING ZHANG, WEI FAN, MINGLIAN ZHANG, AND
 JUN ZHOU,

                   Plaintiffs,
                                                      21-cv-01625 (GHW) (BCM)
            -against-

 XUEYUAN HAN, HANFOR HOLDINGS CO., LTD.,
 HF HOLDINGS LIMITED., HANFOR CAPITAL
 MANAGEMENT CO., LTD., NUOYUAN CAPITAL
 MANAGEMENT COMPANY LTD., GEORGE XU,
 JUNJUN FENG, WENNAN AO, BZ INDUSTRIAL
 (CHINA), BZ INDUSTRIAL (VIRGIN ISLANDS), BZ
 INDUSTRIAL (CAYMAN ISLANDS), HANFOR
 (CAYMAN) LIMITED, HFRE LLC, HF CAPITAL
 MANAGEMENT CAY INC., HF COSMOPOLITAN
 BETA L.P., HENGTAI SECURITIES CO., LTD.,
 JOHN DOES 1-10, JANE DOES 1-10, AND ABC-
 XYZ CORP. 1-10,

                   Defendants.


                         MEMORANDUM OF LAW IN OPPOSITION TO
                        PLAINTIFFS’ APPLICATION FOR ATTACHMENT




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                      INTRODUCTION AND PRELIMINARY STATEMENT

         Plaintiffs’ application to attach assets of defendants1 Xueyuan Han (“Mr. Han”), Hanfor

Holdings Co., Ltd., HF Holdings, Limited, Hanfor Capital Management Co., Ltd., Nuoyuan

Capital Management Company Ltd., George Xu (Mr. Xu), Junjun Feng (“Ms. Feng”), Wennan

AO (“Ms. Ao”), BZ Industrial (China), BZ Industrial (Virgin Islands), BZ Industrial (Cayman

Islands), Hanfor (Cayman) Limited, HFRE LLC (“HFRE”), HF Capital Management Cay Inc.,

and HF Cosmopolitan Beta L.P (collectively, the “Defendants” 2) should be denied as they

cannot meet their heavy burden to show that an attachment is warranted since they fail to show

that any defendant has or is about to assign, dispose of, encumber, secrete, or remove property

from the state with an intent to defraud creditors or that they are likely to succeed on the merits

of any claims, and the amount sought to be attached is unsupported.3

                                          STATEMENT OF FACTS

         Plaintiffs allege that they invested in a total of seven investment projects organized and

offered by companies affiliated with Mr. Han.4 Amended Complaint (“Compl.”) ¶¶ 30, 39;

Affidavit of Jing Zhang sworn to on February 10, 2021 (the “Zhang Aff.”), Ex. F. They

allegedly invested a total of approximately $14 million with Hanfor Capital, Hanfor Holdings,



1
  As discussed in more detail below, Plaintiffs’ order to show cause is directed to all defendants, but it specifically
seeks to attach assets belonging to Mr. Han, Ms. Feng, HFRE, and HF Holdings.
2
  BZ Industrial (China), BZ Industrial (Cayman Islands), and Hanfor Capital Management Co., Ltd. are not affiliated
with the other Defendants, although BZ Industrial (China) may be a misnaming of a Chinese company called Bang
Ze Industrial Co., Ltd. and Hanfor Capital Management Co., Ltd. may be a misnaming of a company called Hanfor
(Beijing) Capital Management Co., Ltd. Han Decl. ¶¶ 12, 14, 16. Similarly, Plaintiffs appear to misidentify Hanfor
Holdings Co., Ltd. as a British Virgin Islands company rather than a Chinese company. Han Decl. ¶ 10. Without
waiving any rights, to the extent Plaintiffs properly named and served these entities, the arguments made herein
apply equally to these entities.
3
  The Defendants appear for the limited purpose of contesting the Plaintiffs’ application for an attachment and
reserve all rights, including to contest service or jurisdiction.
4
  Plaintiff Jing Zhang (“Ms. Zhang”) allegedly invested in one project, plaintiff Wei Fan (“Mr. Fan”) allegedly
invested in three projects, plaintiff Minglian Zhang (“Mr. Zhang”) allegedly invested in two projects, and plaintiff
Jun Zhou (“Mr. Zhou”) allegedly invested in one project. Compl. ¶ 71, 79, 102, 121, 133, 152, 170; Zhang Aff., Ex.
F.
                                                          1

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and Nuoyuan Capital. Compl. ¶ 39; Zhang Aff. Ex. F. The first investment allegedly occurred

in December 2016 when Mr. Zhang signed two investment agreements with Hanfor Capital and

agreed to invest approximately $4.3 million. Compl. ¶ 133. The last investment is alleged to

have occurred in December 2018 when Mr. Fan allegedly signed an agreement with Nuoyuan

Capital to invest approximately $430,000 for five years. Compl. ¶ 194.

       Mr. Han is a citizen of the People’s Republic of China (“China”). Until late 2018, Mr.

Han was a resident of China, and he was living in China at the time of the majority of the

investments alleged by the Plaintiffs. See Declaration of Xueyuan Han dated March 18, 2021

(“Han Decl.”), ¶ 2. In September 2018, Mr. Han moved to the United States to pursue various

business opportunities. Han Decl. ¶ 2. Indeed, as alleged by Plaintiffs, in October 2018, there

were reports in the media that one of Mr. Han’s companies, Hanfor Capital, was preparing to be

listed on the NYSE. Compl. ¶ 29.

       In September 2019, about a year after Mr. Han moved to New York, HFRE purchased an

apartment in New York located at 377 Rector Place, Unit PHB. Compl. ¶ 56. Mr. Han signed

the purchase documents on behalf of HFRE, and thus his name appears on the publicly available

property records. See, e.g., Zhang Aff. Ex. J-2.

       Ms. Ao is Mr. Han’s ex-wife. She is a citizen and resident of China. See Declaration of

Wennan Ao dated March 19, 2021 (“Ao Decl.”), ¶ 2. Ms. Ao traveled to the United States in

December 2019 to, among other things, explore educational opportunities for their children. Ao

Decl. ¶ 3. She expected to stay for about three months, but her visit was prolonged due to travel

restrictions and concerns about the COVID-19 pandemic. Ao Decl. ¶ 4.       Ms. Ao stayed in the

Rector Place apartment while she was in the United States. Ao Decl. ¶ 6. Ms. Ao returned to

China in early December 2020 and has not come to the United States since then. Ao Decl. ¶ 5.


                                                   2

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Ms. Ao is not an officer, director, employee or agent of any of the Corporate Defendants. Ao

Decl. ¶ 9.

        Plaintiffs allege that in 2020, Mr. Han purchased a Rolls Royce Cullinan and is the

reported registrant of the car. Compl. ¶ 60.

        On August 3, 2020, Mr. Han and Ms. Feng jointly purchased an apartment located at 554

Third Avenue, Unit PHA, in New York, NY. Compl. ¶ 54. Mr. Han and Ms. Feng are business

associates, and Plaintiffs allege they are in a romantic relationship. Han Decl. ¶ 8; Compl. ¶ 12.

The apartment was purchased directly in their own names and they are publicly listed as the joint

owners. See Zhang Aff. Ex. J-1.

        Plaintiffs allege that after Mr. Han moved to the United States, the Beijing Bureau of the

China Securities Regulatory Commission (“CSRC Beijing”) launched investigations “against

Defendants.” Compl. ¶ 45. This is misleading. On January 9, 2019, Nuoyuan Capital’s general

manager and other executives were arrested by the Beijing Police Department and criminally

indicted.5 Compl. ¶ 49. The investigation was against only Nuoyuan Capital Hangzhou Sixth

Branch for “illegally soliciting public deposits.” Zhang Aff. Ex. I-1 - I-4.

        Plaintiffs also allege that CSRC Beijing found that several companies affiliated with Mr.

Han had violated certain provisions of the Interim Measures of Privately Offered Investment

Fund and the Law of Securities and Investment Fund. Compl. ¶ 46. The documents submitted

by Plaintiffs show that Nuoyuan Capital Management was simply ordered to “strictly comply”

with the applicable regulations, “to operate and manage the Investment Fund in an honest,



5
  Plaintiffs also allege that Lu Guo, former President of Hanfor Holdings, fled to Australia in 2019 to escape
criminal and civil charges “against her and other corporate Defendants.” See Zhang Aff. ¶ 38. However, it is
unclear what these charges were or how they involved “other corporate Defendants” as Plaintiffs offer no details
regarding this allegation. Notably, Lu Guo is not named in the status report regarding the investigation into
Nuoyuan Capital Management which mentions other individuals who were arrested. See Zhang Aff. Ex. I-2.
                                                         3

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transparent and diligent manner,” and to “submit a written report of correction within 30 days” of

receipt of the decision from the CSRC Beijing. See Zhang Aff. Ex. H-1

        Similarly, CSRC Beijing sent a letter to an unnamed complainant stating that “[u]pon

investigation,” Beijing Hanfor Rongxin Asset Management Partnership, Zhongkaijing Asset

Management Company, Hanfor Beijing Capital Management Company, Nuoyuan Capital

Management Company, and Hanfor Asset Management Company6 were found to have violated

regulations relating to recruitment of investors, promotional materials, comingling of funds,

generating of benefits to managers, and disclosure of information. See Zhang Aff. Ex. H-2.

However, the remedy for these violations was simply supervision by CSRC Beijing. See id.

        Plaintiffs also allege that Mr. Han and Hanfor Capital were listed as defaulting debtors

and the Beijing Government issued Consumer Restriction Orders against them. Compl. ¶ 50.

On March 6, 2020, a notice was published that Hanfor (Beijing) Capital Management Company

was “in violation of assets reporting regulation” and required to pay a debt of RMB

1,069,795.00.7 Zhang Aff. Ex. M. The notice listed Mr. Han as the legally responsible person.

        Finally, the Beijing No.1 Intermediate People’s Court issued Orders of Consumption

Restriction against Hanfor (Beijing) Capital Management Company, Hanfor Rongxin Capital

Management Partnership (Limited Partner), Nuoyuan Zhengxin Pingji Company, and Hanfor

Holdings Limited.8 Zhang Aff. Ex. M. These orders simply require certain individuals at those

entities (those who “directly relate to the payment of debt and [the] person in actual control”) to

refrain from engaging in “high-level consumption activities” such as purchasing first-class travel




6
  Only two of these five companies are named as defendants in the instant action. See Compl. ¶¶ 5-20.
7
  At current exchange rates, this is equivalent to approximately $165,000.
8
  Only two of these four companies are named as defendants in the instant action. See Compl. ¶¶ 5-20.
                                                        4

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tickets, incurring “high-level consumption in hotels, nightclubs, or golf course[s]”, or leasing or

purchasing luxury real estate or vehicles. See id.

                                                ARGUMENT

                                     POINT I
                         PLAINTIFFS FAIL TO MEET THEIR
                 HEAVY BURDEN ON A MOTION FOR AN ATTACHMENT

A.      Legal Standard

        Pursuant to Fed. R. Civ. P. 64, Plaintiffs’ request for an attachment is governed by New

York law, specifically CPLR §§ 6201 and 6212. In order to obtain an attachment, a plaintiff

must show “by affidavit and such other written evidence,” that “[1] there is a cause of action, [2]

that it is probable that the plaintiff will succeed on the merits, [3] that one or more grounds for

attachment provided in section 6201 exist, and [4] that the amount demanded from the defendant

exceeds all counterclaims known to the plaintiff.” CPLR § 6212(a); Buy This, Inc. v. MCI

Worldcom Commc’ns, Inc., 178 F. Supp. 2d 380, 382 (S.D.N.Y. 2001). Plaintiffs rely on CPLR

§ 6201(3), which allows for attachment where “the defendant, with intent to defraud his creditors

or frustrate the enforcement of a judgment that might be rendered in plaintiff’s favor, has

assigned, disposed of, encumbered or secreted property, or removed it from the state or is about

to do any of these acts.”9 CPLR § 6201(3) is “designed to deal with the removal or fraudulent

attempted removal of assets within the State of New York.” Brastex Corp. v. Allen Int’l, Inc.,

702 F.2d 326, 331-32 (2d Cir. 1983) (quoting district court opinion and finding district court’s

interpretation of statute “consistent with applicable principles of statutory interpretation”).

        “[I]t is well established that the New York attachment statutes are construed strictly

against those who seek to invoke the remedy.” Buy This, Inc., 178 F. Supp. 2d at 383; accord


9
 CPLR § 6201(1), (2), (4), and (5) provide alternative grounds for attachment. However, Plaintiffs have only
sought an order of attachment pursuant to CPLR § 6201(3).
                                                        5

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Skyline Steel, LLC v. PilePro, LLC, No. 13-CV-8171 (JMF), 2015 U.S. Dist. LEXIS 114038, at

*5-6 (S.D.N.Y. Aug. 27, 2015) (“Because attachment is a harsh remedy, the four elements set

forth in Section 6212(a) are strictly construed in favor of those against whom attachment is

sought.”) (quotation omitted). Indeed, “the issuance of an order of attachment, even if the

statutory requirements are met, is in the discretion of the court.” Gen. Textile Printing v.

Expromtorg Int’l, 862 F. Supp. 1070, 1073 (S.D.N.Y. 1994); accord Buy This, Inc., 178 F. Supp.

2d at 383.

         Plaintiffs’ request for an attachment must be denied because (1) they fail to show grounds

for attachment under CPLR 6201(3) since they do not demonstrate that Mr. Han, Ms. Feng,

HFRE, or HF Holdings acting with intent to defraud did (or are about to) assign, dispose of,

encumber, or secrete property, or remove it from the state,10 (2) it is not probable that they will

succeed on the merits and they have failed to put forth sufficient evidence for their claims, and

(3) the amount requested to be subject to the attachment is unjustified.

B.       Plaintiffs Fail to Show That CPLR 6201(3) Applies

         Plaintiffs have not come close to meeting their burden to show that the Defendants, with

an actual intent to defraud, did or are about to assign, dispose of, encumber or secrete property,

or remove it from the state. “Fraud is not lightly inferred, and the moving papers must contain

evidentiary facts – as opposed to conclusions – proving the fraud.” Brastex Corp., 702 F.2d at

331 (quotation omitted); accord In re Trafalgar Assocs., 53 B.R. 693, 697 (Bankr. S.D.N.Y.

1985) (intent to defraud “is not lightly inferred; it must be supported by evidentiary facts as


10
  Although Plaintiffs have filed the attachment application with respect to all of the Defendants, the property sought
to be attached is alleged to belong to Mr. Han, Ms. Feng, HFRE, and HF Holdings. Accordingly, Plaintiffs must
show an intent to defraud with respect to these specific defendants. See, e.g., Signal Capital Corp. v. Frank, 895 F.
Supp. 62, 65 (S.D.N.Y. 1995) (denying motion for attachment as to two individual defendants because plaintiff
failed to show requisite intent to defraud as to those defendants and denying motion without prejudice as to third
defendant to allow plaintiff to present more evidence as to that defendant). Nonetheless, Plaintiffs fail to show that
any Defendant intended to defraud creditors by assigning, disposing of, encumbering, or secreting property.
                                                          6

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opposed to mere conclusions.”). All that Plaintiffs offer in support of their motion for an

attachment are generic allegations that Defendants engaged in an “ongoing and continuing fraud

that strongly indicates that they will dispose of assets or money owed to Defendants,” as

“indicated by their prior behavior, wherein they have evaded arrest and illegally commingled and

transferred business funds to personal bank accounts.” See Mot. at 11 (citing Zhang Aff. ¶ 12).

However, these generic allegations are insufficient as they do not support a finding of “‘actual

fraud,’ that is, a transfer made with actual intent to hinder, delay, or defraud creditors.” Signal

Capital Corp., 895 F. Supp. at 65.

       As an initial matter, although Plaintiffs allege generally that Mr. Han transferred

investors’ money to shell companies which he controls to use for his personal expenses, see Am

Compl. ¶ 65; Zhang Aff. ¶ 21, Plaintiffs fail to put forth any actual evidence that Mr. Han

converted funds belonging to Plaintiffs. Accordingly, these allegations should be disregarded on

the motion for an attachment as “[t]he moving papers must contain evidentiary facts, as opposed

to conclusions, proving the fraud.” VNB N.Y., LLC v. Rapaport, No. 508810/15, 2016 N.Y.

Misc. LEXIS 264, at *12 (Sup. Ct. Bronx County Jan. 29, 2016) (quoting Benedict v. Browne,

289 A.D.2d 433 (2d Dep’t 2001)). The only evidentiary facts submitted by the Plaintiffs are that

Mr. Han moved to the United States, HFRE and (separately) Mr. Han and Ms. Feng purchased

property in the United States, and there were investigations into several companies in China.

These do not meet Plaintiffs “high” burden of proving an attachment is warranted. See In re

Amaranth Nat. Gas Commodities Litig., 711 F. Supp. 2d 301, 305 (S.D.N.Y. 2010) (“Plaintiffs’

burden of proving the right to an attachment is ‘high.’ The New York attachment statutes are

construed strictly against those who seek to invoke the remedy.”) (quotation omitted).




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        Plaintiffs’ allegations are particularly lacking with respect to Ms. Feng. Plaintiffs

essentially allege only that Ms. Feng is “in a romantic relationship” with Mr. Han and that they

are joint owners of an apartment. See Compl. ¶ 12. Although Plaintiffs also allege that Ms.

Feng “cooperated” with Mr. Han to hide assets, see Compl. ¶¶ 59, 239, they offer no allegations

of how she “cooperated” or what she actually did, much less evidence to support their claim.

Unless Ms. Feng had “actual knowledge” that Mr. Han was purchasing the apartment and thus

transferring assets to her with “an intent to frustrate a judgment,” Plaintiffs have failed to show

an intent to defraud on Ms. Feng’s behalf. See Signal Corp., 895 F. Supp. at 65 (“even if

[individuals] were directors of Enterprises while it was fraudulently conveying assets, that fact

does not establish actual knowledge on the part of these two directors or an intent to frustrate a

judgment”).

        Plaintiffs also allege on information and belief that Mr. Han and Ms. Feng “are

deliberately avoiding keeping large amounts of money in bank accounts in the United States to

avoid creditors.” Compl. ¶ 66. They offer no supporting evidence, and it is unclear how they

have any basis for this allegation since information concerning individual, personal bank

accounts is generally protected from disclosure under various agreements and laws, including the

Gramm-Leach-Bliley Act. See 15 U.S.C. § 6801 et seq.11

        As to Mr. Han, HFRE, and HF Holdings, Plaintiffs’ allegations are essentially that Mr.

Han controls HFRE and HF Holdings, that Mr. Han fled China to avoid investigation and has

hidden his assets in the United States, and that the Rector Place apartment is on the market. See

Zhang Aff. ¶¶ 17, 19, 20. These allegations quickly fall apart since (1) Mr. Han moved to the

United States before the alleged investigations; (2) Plaintiffs offer nothing to support their claim


11
  Indeed, the Gramm-Leach-Bliley Act makes it a criminal offense to obtain a third-party’s financial information
through pretext. See 15 U.S.C. § 6823.
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that Mr. Han personally was the subject of any of investigation; and (3) Mr. Han has purchased

property in his own name in the United States and thus did not try to “hide” his assets.12

“Affidavits containing allegations raising a mere suspicion of an intent to defraud are

insufficient. It must appear that such fraudulent intent really existed in the defendant’s mind.”

Societe Gen. Alsacienne de Banque, Zurich v. Flemingdon Dev. Corp., 118 A.D.2d 769, 773 (2d

Dep’t 1986) (quotation omitted). “The mere removal or assignment or other disposition of

property is not grounds for attachment … Plaintiffs must also establish that Defendants moved

these accounts with the intent to frustrate the enforcement of a judgment.” Silverman v.

Miranda, 116 F. Supp. 3d 289, 311-12 (S.D.N.Y. 2015) (quotation omitted).

           The bulk of the evidence put forth by Plaintiffs in support of their argument that there

was an intent to defraud consists of investigatory proceedings in China. Plaintiffs point to an

investigation against the Shenzhou Branch of Nuoyuan Capital Management Co. for “illegally

soliciting cash deposits,” but Mr. Han’s name does not appear in any of the documents submitted

by Plaintiffs and they fail to show that he was a target of that investigation. See Zhang Aff. Exs.

I-1 - I-4. Although Plaintiffs allege that Mr. Han “fled” China to avoid investigation, he moved

to the U.S. before the investigations began. Compare Han Decl. ¶ 2 with Zhang Aff. Exs. H, I,

M. Additionally, Mr. Han’s explanation as to why he moved to the U.S. and purchased property

in New York is credible and refutes any suggestion of fraud. This stands in stark contrast to

Bank Leumi Trust, a case cited by Plaintiffs, where the court noted that a “defendant is entitled to

a presumption of innocence,” but that the “court is not required to give credence to a story so

inherently impossible as to leave no doubt that it is not true.” Bank Leumi Tr. Co. of N.Y. v.

Istim, Inc., 892 F. Supp. 478, 483 (S.D.N.Y. 1995) (quotation omitted).



12
     In addition, the Rector Place apartment is no longer on the market. Han Decl. ¶ 5.
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         The insufficiency of Plaintiffs’ allegations of fraud is readily apparent when compared to

the cases cited by Plaintiffs where courts did find an intent to defraud sufficient to support an

attachment. For example, in Societe Alsacienne, the court found attachment was warranted

where the defendant had (1) knowingly presented a check with insufficient funds, (2) falsely

stated that the check was rejected because it had the wrong account number and should be re-

presented even though the defendant had closed all accounts at that bank, (3) refused to respond

to communications, and (4) tried to remove funds after the ex parte attachment order was

entered. Societe Alsacienne, 118 A.D.2d at 773. Similarly, in VNB N.Y., LLC, an intent to

defraud was shown where the plaintiff presented evidence that the defendants had transferred

property for no consideration after notices of default were sent and admitted that they had

transferred property to avoid other creditors. 2016 N.Y. Misc. LEXIS 264, at *12-13.

Additionally, in VNB N.Y., the court noted that the transactions in issue had “numerous badges of

fraud”, including a family relationship between the parties, quick transfer after notices of default,

no proof of consideration, and an inability to pay known claims. Id. at *13.

         In contrast, here, there is no allegation that any property was sold or transferred for no

consideration. Instead, Defendants are accused of purchasing real property in New York City

for fair market value in arms’ length transactions. See Zhang Aff. ¶¶ 25-27.13 This alone

removes Mr. Han’s alleged conduct from the purview of CPLR § 6201(3) which allows for

attachment only where the defendant “has assigned, disposed of, encumbered or secreted

property, or removed it from the state” to frustrate a judgment or creditors. Quite simply, Mr.

Han has not disposed of or secreted any property. Although one of the apartments is owned by



 Although Plaintiffs also point to the fact that the Rector Place apartment was listed for sale, see Zhang Aff. ¶ 39, it
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was listed in October 2020 (well before this action was commenced) and delisted on February 27, 2021 due to
market conditions. Han Decl. ¶ 5.
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an LLC (as is not infrequent in property transactions), Mr. Han signed the purchase documents

and thus his name appears in the publicly available documents, and the other apartment is owned

in Mr. Han’s own name (jointly with Ms. Feng). See Zhang Aff. Exs. J-1, J-2. Purchasing an

apartment and having it publicly listed in one’s own name certainly does not show an intent to

“conceal [] property or to place it beyond the reach of the Court’s judgment.” City of New York

v. Citisource, Inc., 679 F. Supp. 393, 397 (S.D.N.Y. 1988).

         Plaintiffs fail “to advance any probative evidentiary facts that defendant[s] [have]

disposed or [are] about to dispose of any property to frustrate a potential judgment, or to flee the

jurisdiction of the Court.” Gen. Textile Printing Processing Corp. v. Expromto Int’l, 862 F.

Supp. 1070, 1074 (S.D.N.Y. 1994). Nor have Plaintiffs shown that Defendants14 possess “any

intent to defraud,” and thus an order of attachment is unwarranted. Id.

C.       Plaintiffs Cannot Show Probable Success on the Merits

         In order to show a probability of success on the merits, Plaintiffs must “demonstrate that

it is more likely than not that [they] will succeed on [their] claims and must show proof stronger

than that required to make a prima facie case.” In re Amaranth Nat. Gas Commodities Litig.,

711 F. Supp. 2d at 306 (quotation omitted). In order to obtain an attachment, a plaintiff must


14
  As noted above, the property Plaintiffs seek to attach is alleged to belong to Mr. Han, Ms. Feng, HFRE, and HF
Holdings. To the extent Plaintiffs may claim that they seek to attach assets of other Defendants, they have failed to
show that any Defendant intended to defraud creditors by assigning, transferring, encumbering, secreting or
removing assets from the state. For example, Plaintiffs’ attachment papers do not meet their burden regarding Mr.
Xu, who is mentioned only once in Plaintiffs’ supporting affidavit when Ms. Zhang makes a generic allegation “on
information and belief” that Mr. Xu diverted the Plaintiffs’ funds. Zhang Aff. ¶ 21. Plaintiffs do not even attempt
to describe what he did, much less provide the required evidence of these types of actions. Nor do they identify any
of Mr. Xu’s personal property that he assigned, transferred, encumbered, secreted or removed from the state. This is
because Mr. Xu is an accountant who prepared tax returns for Mr. Han and several related companies and has not
taken any steps to help Mr. Han or any other defendant transfer property. Xu Decl. ¶¶ 2-3. Similarly, Ms. Zhang’s
affidavit does not contain any allegations of intent to defraud by Ms. Ao. The Plaintiffs do not even identify any
property Ms. Ao owns in the state, much less property that she has or plans to transfer, assign, encumber, secrete or
remove from the state. The only mentions of Ms. Ao in the Zhang affidavit are incorrect assertions that her divorce
from Mr. Han was a sham and that she resides at the Rector Place apartment and an allegation that she does not have
a bank account in the U.S. (which, if true, would not be unusual for a citizen and resident of China). See Zhang Aff.
¶¶ 26, 40; Ao Decl. ¶¶ 2, 12-13. None of this is sufficient to show the intent to defraud required by CPLR 6201(3).
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establish “by affidavit or other competent written evidence, that there is a cause of action …

upon which it is likely to succeed on the merits.” Skyline Steel, LLC, 2015 U.S. Dist. LEXIS

114038, at *6. As discussed below and in Defendants’ pre-motion to dismiss letter to the Court

(a copy of which is attached as Exhibit A to the March 19, 2021 Declaration of Jeffrey S. Boxer

(the “Boxer Decl.”)), Plaintiffs failed to show probability of success on the merits.

       The only evidence Plaintiffs submitted in support of their application for an attachment is

the affidavit from Ms. Zhang. However, Ms. Zhang only claims to have been a party to one of

the seven investment projects at issue, see Compl. ¶¶ 187-209; Zhang Aff., Ex. F., and thus any

statements in her affidavit relating to the other investment projects are hearsay, lack evidentiary

value, and are insufficient to support a motion for an attachment. See Skyline Steel, LLC, 2015

U.S. Dist. LEXIS 114038, at *8 (plaintiff failed to meet burden for attachment where “there is no

affidavit on personal knowledge or other competent written evidence demonstrating a likelihood

of success on the merits of any of the claims”); accord MFAI (Jersey) Ltd. v. Westbury Holdings,

Inc., 264 A.D.2d 663, 663 (1st Dep’t 1999) (“plaintiff’s attorney’s hearsay statements and the

allegations in the complaint, unsupported by any documentary evidence” are insufficient to show

merits of claim on motion for attachment). Additionally, although Ms. Zhang attached

promotional materials and a share purchase agreement for the one project in which she allegedly

invested, see Zhang Aff. Exs. C, D, she provides no such documents for the other six

investments.

       The only documents Plaintiffs put forth relating to the other six investments are records

ostensibly showing transfers from Mr. Fan and purchases of shares by Mr. Zhang. See Zhang

Aff., Exs. B-1 - B-3. However, these records do not meet Plaintiffs’ evidentiary burden as there

is no explanation as to how Ms. Zhang has any knowledge regarding the other Plaintiffs’


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personal bank records. More importantly, at most, these documents show that Mr. Fan and Mr.

Zhang invested in certain companies and nothing in these documents reflect any breach of

contract or fraud or otherwise support Plaintiffs’ allegations. Accordingly, claims relating to the

six investment projects for which Ms. Zhang is not alleged to have been a party cannot support

the motion for an attachment as Plaintiffs have failed to offer an “affidavit on personal

knowledge or other competent written evidence demonstrating a likelihood of success on the

merits” as to these claims. Skyline Steel, LLC, 2015 U.S. Dist. LEXIS 114038, at *8.

         In addition, Plaintiffs cannot succeed on their claims before this Court because their

claims must be arbitrated rather than adjudicated in this forum. All of Plaintiffs’ claims arise out

of or relate to their alleged investments in seven different projects. Plaintiffs assert that each of

those investments is governed by an agreement that the investing Plaintiff executed at the time of

the investment. Each of those agreements contains a broad arbitration clause requiring

arbitration before the Beijing Arbitration Commission in Beijing, China. For example, the

agreements governing the one investment by Ms. Zhang provide that “[a]ny claim, dispute, or

controversy, of whatever nature arising out of or relating to this agreement, including, without

limitation, any action or claim based on tort, contract, or statute (including any claims of breach)

. . . shall be referred to and finally resolved by arbitration administered by the Beijing Arbitration

Commission in Beijing . . . in Mandarin Chinese.” Zhang Aff., Ex. D, Share Purchase

Agreement at ¶ 7.10(b) and Shareholders Agreement at ¶ 13.12(b). The agreements governing

the other investments on which Plaintiffs’ claims are based also have arbitration provisions

requiring arbitration before the Beijing Arbitration Commission in China. Han Decl. ¶¶ 25, 29,

33, 36, 39, 43, 47.15


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  Although Plaintiffs allege they invested in seven projects, the Defendants have been unable to find records
reflecting any investment by Mr. Fan in the Hanfor New Industry Project. Han Decl., ¶ 35.
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       Federal policy “unequivocally encourages arbitration as an alternative means of dispute

resolution,” and “[t]his bias in favor of arbitration is even stronger in the context of international

business transactions.” DaPuzzo v. Globalvest Mgmt. Co., 263 F. Supp. 2d 714, 718-19

(S.D.N.Y. 2003) (quotation omitted). Since all of Plaintiffs’ claims arise out of or are related to

the investment agreements, they must be arbitrated, and Plaintiffs cannot succeed on their claims

in this Court. See Genesco, Inc. v. T. Kakiuchi & Co., 815 F.2d 840, 846 (2d Cir. 1987) (“If the

allegations underlying the claims touch matters covered by the [contract with arbitration

provision], then those claims must be arbitrated, whatever the legal labels attached to them.”

(citation omitted)); accord David L. Threlkeld & Co. v. Metallgesellschaft, Ltd., 923 F.2d 245,

248 (2d Cir. 1991) (“federal arbitration policy requires that any doubts concerning the scope of

arbitrable issues should be resolved in favor of arbitration” (quotation omitted); Hart Enters.

Int’l, Inc. v. Anhui Provincial Import & Export Corp., 888 F. Supp. 587, 589 (S.D.N.Y. 1995)

(“Arbitration should be compelled unless it may be said with positive assurance that the

arbitration clause is not susceptible of an interpretation that covers the asserted dispute.”

(quotation omitted)). Thus, Plaintiffs fail to meet their burden of proving probability of success

in this Court because all their claims are subject to arbitration and this case should be dismissed.

       Moreover, the Plaintiffs cannot show that they are likely to succeed on their claims

because the Court lacks personal jurisdiction over the Corporate Defendants (other than HFRE)

and Ms. Ao. All of these Corporate Defendants were incorporated and have their principal

places of business outside of the U.S. and Ms. Ao is a Chinese citizen and resident. Han Decl. ¶¶

10-15, 17-20; Ao Decl. ¶ 2. None of these Defendants own or lease any property in the United

States, and they do not have any offices, bank accounts, or employees in the United States. Id.

The events about which Plaintiffs complain took place outside of the United States: The


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Plaintiffs resided in China when they entered into each investment contract, the investments were

made through Chinese banks in China, and the contracts are in Chinese, were executed in China,

and provide for resolution of disputes in arbitration in China. Han Decl. ¶¶ 23-48; Zhang Aff. ¶

9, Ex. D. Accordingly, Plaintiffs cannot show that these Defendants are subject to general or

specific personal jurisdiction in this Court or that the assertion of jurisdiction would be consistent

with due process.16 See Sonera Holding B.V. v. Cukurova Holding A.S., 750 F.3d 221, 224 (2d

Cir. 2014) (to demonstrate general jurisdiction, plaintiff must show defendant “has engaged in

such a continuous and systematic course of doing business in New York that a finding of its

presence in New York is warranted.”) (internal quotations and citations omitted); Schentag v.

Nebgen, No. 1:17-cv-8734-GHW, 2018 U.S. Dist. LEXIS 104065, at *41-42 (S.D.N.Y. June 21,

2018) (no specific jurisdiction over a defendant absent a showing by plaintiff of “an affiliation

between the forum and the underlying controversy, principally, activity or an occurrence that

takes place in the forum State and is therefore subject to the State’s regulation.”); Metro. Life Ins.

Co. v. Robertson-Ceco Corp., 84 F.3d 560, 573 (2d Cir. 1996) (assertion of personal jurisdiction

does not satisfy due process standards unless the defendants have minimum contacts with the

forum and the exercise of jurisdiction is reasonable); E. Fin. Corp. v. JSC Alchevsk Iron & Steel

Works, 2009 U.S. Dist. LEXIS 23283, at *20-21 (S.D.N.Y. Mar. 23, 2009) (finding that since

defendant only held two meetings in New York, the relevant contracts were executed in Ukraine,

and neither party was a New York corporation, exercising personal jurisdiction over the

defendant would offend traditional notions of fair play and substantial justice.).




16
  Plaintiffs also failed to properly serve the summons and complaint or the attachment papers on all Defendants.
See Han Decl. ¶ 7; Ao Decl. ¶¶ 5-6; Xu Decl. ¶¶ 4-6. Notably, Plaintiffs have not filed or submitted any documents
reflecting purported service of process on any Defendants.
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        Even if they could proceed in this Court, Plaintiffs still have not met their burden of

showing probability of success on the merits of any of their claims. Plaintiffs fail to show they

are likely to succeed on their claims for breach of contract and breach of the duty of good faith

and fair dealing implied in those contracts. With the exception of one investment by Ms. Zhang,

Plaintiffs do not attach the contracts that they allege were breached. Nor do they identify or

quote any specific provisions of any contracts that allegedly were breached. This alone prevents

them from demonstrating likelihood of success on the merits. See Ellington Credit Fund Ltd. v.

Select Portfolio Serv., 837 F. Supp. 2d 162, 189 (S.D.N.Y. 2011) (“stating in a conclusory

manner that an agreement was breached does not sustain a claim of breach of contract”)

(quotation omitted); Scott v. Am. Sec. Ins. Co., 572 B.R. 492, 535 (Bankr. S.D.N.Y. 2017) (“to

survive a motion to dismiss a breach of contract claim …[the plaintiff] must set forth the terms

of the agreement upon which liability is predicated) (quotation omitted). In addition, Plaintiffs

did not enter into any contracts with the Defendants whose assets they seek to attach, thus they

are not likely to succeed on the merits of the contract claims against those Defendants since they

were not parties to any of the contracts at issue and are not subject to jurisdiction in this Court.17

Compl., ¶¶ 71, 79,102, 121, 133, 152, 170; Han Decl. ¶¶ 23-48.

        Plaintiffs have not met their burden of showing a probability of success on the merits of

their fraud and conspiracy to commit fraud claims. Plaintiffs have not pled fraud with the

specificity required by Rule 9(b) for each of these claims, and the Zhang affidavit does not

provide any evidentiary support for a fraud claim. At most, the pleading and affidavit assert that



17
   Plaintiffs entered into contracts only with HF Holdings Limited, Nuoyuan Capital Management Company, Ltd.,
and Hanfor (Beijing) Capital Management Company, Ltd. Compl. ¶ 71, 79, 102, 121, 133, 152, 170; Han Decl. ¶¶
23, 27, 31, 35, 37, 41, 45. Nuoyuan Capital Management Company, Ltd., and Hanfor (Beijing) Capital Management
Company, Ltd. are incorporated under the laws of China, and HF Holdings Limited is incorporated under the laws of
the British Virgin Islands. Han Decl. ¶¶ 11-13.
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unidentified individuals who allegedly represented one or more of the Corporate Defendants told

the plaintiffs that they would receive guaranteed returns on their investments. Compl., ¶¶ 78, 68-

70, 99, 118, 132, 148-50, 168-69; Zhang Decl. ¶ 5. The Plaintiffs fail to identify who made these

statements or when precisely they were made, as is required to prevail on a fraud claim. Swiskey

v. Palumbo, No. 07-cv-6624 (PKC) (DCF), 2009 U.S. Dist. LEXIS 24832, at *22 (S.D.N.Y.

Mar. 9, 2009) (plaintiff must “specify the statements [that he claims] were false or misleading,

give particulars as to the respect in which plaintiffs contend the statements were fraudulent, state

when and where the statements were made, and identify those responsible for the statements.”),

aff’d, 377 F. App’x 39 (2d Cir. 2010) (citation omitted); Clark v. Advanced Composites Grp.,

No. 16 Civ. 6422 (GBD), 2019 U.S. Dist. LEXIS 80639, at *52-53 (S.D.N.Y. May 9, 2019); Lot

42 in Office of Cnty. Clerk & Register of N.Y. Cnty., N.Y., No. 12-CV-4034 (HB), 2013 U.S.

Dist. LEXIS 110783, at *18 (S.D.N.Y. Aug. 6, 2013) (allegations that fraudulent representations

occurred “during or about the summer of 2008” insufficient under Rule 9(b)); Fed. Deposit Ins.

Corp. v. FSI Futures, Inc., No. 88 Civ. 0906 (PNL), 1991 U.S. Dist. LEXIS 14946, at *9

(S.D.N.Y. Oct. 15, 1991). Similarly, Plaintiffs do not demonstrate that the alleged statements

were anything more than expressions of hope of future outcomes, not statements of fact. Hutton

v. Klabal, 726 F. Supp. 67, 71 (S.D.N.Y. 1989) (“Generally a cause of action for fraud ‘cannot

be based upon a statement of future intentions, promises or expectations which were speculative

or an expression of hope at the time when made, rather than an assumption of fact.’” (quoting

Roney v. Janis, 77 A.D.2d 555, 557 (1st Dep’t 1980)). Moreover, to the extent that Plaintiffs’

allegations are based on information and belief, see, e.g., Compl. ¶¶ 36, 159, 172, “[t]he general

rule is that allegations of fraud may not be based on ‘information and belief.’” Hutton, 726 F.




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Supp. at 71. In light of this, Plaintiffs cannot demonstrate that they are likely to succeed on their

fraud claim.

           Plaintiffs have not met their burden of showing a probability of success on the merits of

their conversion and unjust enrichment claims. Plaintiffs concede that each investment about

which they complain is governed by a valid contract. Where a contract governs a particular

transaction, a plaintiff cannot succeed on a conversion or unjust enrichment claim. See, e.g.,

Diesel Props S.R.L. v. Greystone Bus. Credit, 631 F.3d 42, 54 (2d Cir. 2011) (affirming district

court’s dismissal of unjust enrichment claim “[i]n light of the agreements among the parties.”);

Ellington Credit Fund v. Select Portfolio Serv., 837 F. Supp. 2d 162, 204 (S.D.N.Y. 2011) (“A

conversion claim may only succeed, however, if a plaintiff alleges wrongs and damages distinct

from those predicated on a breach of contract.”); id. at 202-3 (unjust enrichment claim

“ordinarily can be maintained only in the absence of a valid, enforceable contract,” and

dismissing claim since “existence of a valid and binding contract governing the subject matter at

issue in a particular case does act to preclude a claim for unjust enrichment even against a third

party non-signatory to the agreement”) (quotations omitted).

           Plaintiffs have not met their burden of showing a probability of success on the merits of

their breach of fiduciary duty claim. Plaintiffs assert that the investment contracts they entered

into created a fiduciary duty (Compl. ¶ 242), but nothing in those contracts imposes a fiduciary

obligation on the parties to those contracts. To the contrary, the agreements were arms’ length

contracts between sophisticated parties.18 The Plaintiffs’ breach of duty allegation is duplicative

of their breach of contract claim, and the law is clear that no fiduciary obligation is imposed in

these circumstances. Perkins v. Am. Transit Ins. Co., No. 10 Civ. 5655 (CM), 2013 U.S. Dist.



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     Each plaintiff confirmed that he or she was a qualified investor at the time of each investment. Han Decl. ¶ 49.
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LEXIS 6703 at *29 (S.D.N.Y. Jan. 15, 2013) (claim for breach of fiduciary duty "must be

dismissed as duplicative of a breach of contract claim if the parties owe each other no duty

independent of the contract itself."); N. Shipping Funds I, LLC v. Icon Capital Corp., 921 F.

Supp. 2d 94, 105 (S.D.N.Y. 2013) (to maintain breach of fiduciary duty claim, plaintiff must

allege that "apart from the terms of the contract, the parties created a relationship of higher trust

than would arise from their contracts alone, so as to permit a cause of action for breach of

fiduciary duty independent of the contractual duties.").

       Plaintiffs have not met their burden of showing a probability of success on the merits of

their claims for violation of Rule 10b-5 and civil RICO. All of the underlying events alleged by

plaintiffs, including the investments themselves, took place outside of the United States. Han

Decl. ¶¶ 23-48. Moreover, plaintiffs do not allege a domestic injury to their business or

property. See Martin Hilti Family Tr. v. Knoedler Gallery, LLC, 386 F. Supp. 3d 319, 344-45

(S.D.N.Y. 2019) (“[W]here a plaintiff suffers an injury to tangible property—including money—

absent some extraordinary circumstance, the injury is domestic if the plaintiff’s property was

located in the United States when it was stolen or harmed….”). Neither RICO nor Rule 10b-5

can be applied extraterritorially under these circumstances. See, e.g., Morrison v. Nat’l Australia

Bank Ltd., 561 U.S. 247, 267 (2010) (holding that § 10b-5 of the Exchange Act only applies to

“transactions in securities listed on domestic exchanges, and domestic transactions in other

securities”); RJR Nabisco, Inc. v. European Cmty., 136 S. Ct. 2090, 2111 (2016) (“Section

1964(c) requires a civil RICO plaintiff to allege and prove a domestic injury … and does not

allow recovery for foreign injuries.”). In addition, Plaintiffs’ RICO claim alleging wire fraud as

the predicate act and Plaintiffs’ Rule 10b-5 claim must be plead with specificity, and, as

discussed above, Plaintiffs have failed to do so. See Lundy v. Catholic Health Sys. of Long Island


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Inc., 711 F.3d 106, 119 (2d Cir. 2013); Knoll v. Schectman, 275 F. App’x 50, 51 (2d Cir. 2008);

In re Nokia Oyj (Nokia Corp.) Sec. Litig., 423 F. Supp. 2d 364, 391-91 (S.D.N.Y. 2006).

        Finally, for many of their claims, the Plaintiffs simply lump the Defendants into a group

and allege that all Defendants took certain actions. See, e.g., Compl. ¶¶ 212-13, 224, 257. This

is insufficient to demonstrate that the Plaintiffs are likely to succeed on their claims against each

relevant Defendant as is required for an attachment. Clark v. Advanced Composites Grp., 16

Civ. 6422 (GBD), 2019 U.S. Dist. LEXIS 80639, at *53 (S.D.N.Y. May 9, 2019) (“The

requirements of Rule 9(b) are ‘not satisfied by a complaint in which defendants are clumped

together in vague allegations.’” (quoting Polar Int’l Brokerage Corp. v. Reeve, 108 F. Supp. 2d

225, 237 (S.D.N.Y. 2000))); Mechigian v. Art Capital Corp., 612 F. Supp. 1421, 1429 (S.D.N.Y.

1985) (“[P]laintiff does not specifically allege the extent or nature of each defendant's

involvement in the fraud, but rather simply refers to ‘defendants’ collectively. This is insufficient

under Rule 9(b).”).19

D.      The Amount Sought to Be Attached Is Unsupported

        The request for attachment should be denied because Plaintiffs fail to support their

claimed damages amount. “It is well settled that attachment is available only upon a

specification of damages, and such damages must be shown with reasonable certainty to justify

taking the defendant’s property in advance of adjudication.” Moquinon, Ltd. v. Gliklad, No.

650366/2017, 2017 N.Y. Misc. LEXIS 1498, at *14 (Sup. Ct. N.Y. County Apr. 6, 2017).


19
   For example, it is not clear which claims in the Amended Complaint are actually asserted against Mr. Xu, Ms. Ao
or Ms. Feng, and Plaintiffs’ attachment papers do not provide any actual evidence that any of them breached any
contract, committed any tort or violated any statute. To the contrary, the Plaintiffs’ attachment papers barely
mention Mr. Xu, Ms. Ao and Ms. Feng. See Zhang Aff. ¶ 21 (generic assertion on information and belief that Mr.
Xu assisted Mr. Han in transferring assets), ¶¶ 26, 40 (incorrectly asserting that Ms. Ao’s divorce from Mr. Han was
a sham and that she resides at the Rector Place apartment and claiming she does not have a U.S. bank account) and
¶¶ 22-23, 40 (asserting that Ms. Feng and Mr. Han jointly own an apartment and are in a romantic relationship).
Nothing in the Plaintiffs’ application for an attachment identifies any valid claim against these Defendants, and
Plaintiffs fail to demonstrate that they are likely to succeed on any claims against Mr. Xu, Ms. Ao or Ms. Feng.
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       Plaintiffs seek an order of attachment for $17,510,000 in assets comprised of (1) the

Rector Place apartment (purchased for $4,990,000); (2) the Third Avenue apartment (purchased

for $2,190,000); (3) the car (valued at $330,000); and (4) 2,574,000 Class C Shares of NIO Inc.,

held by HF Holdings (valued at $10,000,000). See Mot. At 5. However, Plaintiffs appear to be

using different values for the NIO shares depending on the argument they are making. In their

motion for an attachment, they claim that the 2,574,000 NIO shares are valued at $10,000,000.

See Mot. at 14. However, in Ms. Zhang’s affidavit where she discusses the losses Plaintiffs

allegedly incurred, she claims these same shares are worth $161.75 million. Zhang Aff. ¶ 12.

       Additionally, Plaintiffs have not provided evidence of any losses. Plaintiffs allege they

invested a total of $14 million with Defendants, see Compl. ¶ 39, and that they have received

approximately $1 million in return, see Zhang Aff. ¶ 14. As an initial matter, only Ms. Zhang

has submitted an affidavit and thus there is no competent evidence as to the investments to which

she was not a party. Even accepting Plaintiffs’ representations regarding the amounts they

invested, they have still failed to provide evidence of their losses.

       Plaintiffs claim that they were promised certain returns on their investments, including

$14.68 million on the six investments in which Ms. Zhang did not participate. See Zhang Aff. ¶¶

13, 15; Zhang Aff. Ex. F. However, as explained above, they have not put forth any evidence in

support of that claim since they have failed to provide the investment agreements and Ms. Zhang

(the only plaintiff who provided an affidavit) was not a party to those agreements. Accordingly,

Plaintiffs have failed to put forth any competent evidence as to (1) amounts invested; (2)

promised returns on investment; or (3) amounts due for those six investment projects. Any

claimed damages relating to these six projects have not been proven to the certainty required to

support an attachment. See Parker v. Robert Wallace Co. of Belfast, 206 A.D. 465, 466 (1st


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Dep’t 1923) (“While the proof of cause and damage need not be as direct and positive in

affidavits for an attachment as is required on the trial, there must be something more than an

assertion of ‘approximate damage’ to justify the warrant.”); accord Burns v. Valenza, 1988 N.Y.

App. Div. LEXIS 7883 (1st Dep’t Jan. 14, 1988) (limiting amount of attachment to “amount

[which] is based upon specific documentary evidence”).

                               POINT II
     PLAINTIFFS FAIL TO MEET THEIR BURDEN TO OBTAIN A TEMPORARY
                          RESTRAINING ORDER

       Plaintiffs’ application for a temporary restraining order restraining the sale of the

apartments, car, and stock was previously denied by the Court (see February 24, 2021 Order

(Docket # 8)), and there is no basis to alter that decision. A temporary restraining order is “an

extraordinary and drastic remedy, one that should not be granted unless the movant, by a clear

showing, carries the burden of persuasion.” Mazurek v. Armstrong, 520 U.S. 968, 972 (1997)

(emphasis and citation omitted). “Where there is an adequate remedy at law, such as an award of

money damages, injunctions are unavailable except in extraordinary circumstances.” Moore v.

Consol. Edison Co. of New York, Inc., 409 F.3d 506, 510 (2d Cir. 2005). To obtain a temporary

restraining order, a plaintiff must show (1) “a likelihood of success on the merits or …

sufficiently serious questions going to the merits to make them a fair ground for litigation and a

balance of hardships tipping decidedly in the plaintiff’s favor”; (2) a likelihood of “irreparable

injury in the absence of an injunction”; (3) “that the balance of hardships tips in the plaintiff’s

favor”; and (4) that the “public interest would not be disserved.” Benihana, Inc. v. Benihana of

Tokyo, LLC, 784 F.3d 887, 894-95 (2d Cir. 2015) (internal citations omitted). Just as Plaintiffs

have failed to meet their burden to obtain an attachment, so too have they failed to show that

“extraordinary circumstances” warrant a temporary restraining order.


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       As discussed above, Plaintiffs’ claims lack merit and therefore Plaintiffs cannot

demonstrate likelihood of success on the merits and fail to satisfy the first prong for a temporary

restraining order. Even if Plaintiffs did have colorable claims, a temporary restraining order still

would not be warranted. Plaintiffs claim that a temporary restraining order is necessary because

there “is precedent for Defendants dissipating their assets in the past, and no reason to doubt that

they would continue to do so in the future.” See Mot. at 14. This is essentially the same

argument they made in support of their motion for an attachment. However, as discussed above,

there is no precedent that Defendants have dissipated their assets. Defendants are not accused of

hiding or transferring assets for no consideration, rather Mr. Han is accused of moving to the

United States (before the commencement of any investigation in China) and purchasing property

for fair market value using his own name. Since there is no evidence that Defendants have

dissipated assets in the past, Plaintiffs have failed to show the possibility of irreparable injury

absent a temporary restraining order.

       Since Plaintiffs have failed to show either a likelihood of success on the merits or

irreparable harm absent an injunction, the Court need not reach the other two elements and

should not grant a temporary restraining order. However, Plaintiffs’ claim that Defendants will

not suffer any harm from a temporary restraining order because the NIO stock “is not expected to

drop in value,” see Mot. at 14, has already been shown to be incorrect as the stock was valued at

$62.84 a share as of the date of Zhang’s affidavit, see Zhang Aff. ¶ 13; Boxer Decl. Ex. B, but

had declined to $49.11 when the motion for an attachment was filed on February 24, 2021, see

Boxer Decl. Ex. B, and closed at $41.63 on March 18, 2021, see id. Thus, the stock has already

lost approximately 1/3 of its value and Defendants could be harmed if a temporary restraining

order was entered preventing them from selling the stock.


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       Finally, Plaintiffs argue that the public interest favors injunctive relief because otherwise

Defendants “will once again be able to evade the victims of their fraudulent enterprise.” See

Mot. at 14. However, there is no indication that Defendants have ever evaded, or attempted to

evade, these alleged “victims.” Indeed, in the letter from the CSRC Beijing to the unnamed

complainant regarding complaints against some of the Defendants in February 2020, the CSRC

advised that a petition to “retrieve and refund” assets was “not within [CSRC Beijing’s] scope of

supervision,” and the complainant was advised “to resolve the issues through mediation,

arbitration or litigation channels.” Zhang Aff. Ex. H-2. There is no indication that this was ever

done, and no evidence put forth suggesting that Defendants have evaded a lawfully issued

judgment. Accordingly, Plaintiffs’ argument that the public interest favors a temporary

restraining order is unpersuasive.

                              POINT III
     PLAINTIFFS MUST POST A BOND IF THEIR APPLICATION IS GRANTED

       Plaintiffs’ application for an attachment or a temporary restraining order must be denied

for the reasons discussed above. If, however, the Court grants Plaintiffs’ application, then any

attachment or restraining order should be conditional on the Plaintiffs’ posting a significant

undertaking. See CPLR § 6212(b). At the very least, Plaintiffs should be required to post a bond

for the full value of the NIO shares before any attachment or restraining order becomes

effective. The amount of the bond required under CPLR § 6212(b) is determined by the amount

“sufficient to pay defendant damages, including attorneys’ fees, in the event … that plaintiff [is]

found not entitled to an attachment.” See Mitchell v. Fidelity Borrowing LLC, 34 A.D.3d 366,

367 (1st Dep’t 2006). Here, Plaintiffs seek an order of attachment regarding the NIO Shares

which were valued at $161.75 million at the time Zhang executed her affidavit, see Zhang Aff. ¶

12, but those shares are now worth only $107.15 million based on the March 18, 2021 closing

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price. See Zhang Aff. ¶ ¶ 10, 12, Boxer Decl. Ex. B. If Defendants are prevented from selling

the shares, the damages could be significant given the market volatility as evidenced by the

shares losing approximately a third of their value since the date of Zhang’s affidavit. Plaintiffs

should be required to post a bond equal to the current value of the shares.

                                         CONCLUSION

       A plaintiff’s task in proving an attachment is warranted is “particularly daunting because

it is well established that the New York attachment statutes are construed strictly against those

who seek to invoke the remedy.” Buy This, Inc., 178 F. Supp. 2d at 383 (citation omitted).

Where a plaintiff seeks money damages, “injunctions are unavailable except in extraordinary

circumstances.” Moore, 409 F.3d at 510. For all of the foregoing reasons, Plaintiffs fail to meet

their burden to show that the requirements for an attachment are present or that extraordinary

circumstances justify a temporary restraining order. Defendants respectfully request that the

Court deny Plaintiffs’ application for an attachment and temporary restraining order, and award

Defendants such other and further relief as the Court deems just and proper.

 Dated: March 19, 2021                             CARTER LEDYARD & MILBURN, LLP


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